Case 1:20-mj-00258-JMC Document 1-1 Filed 01/23/20 Page 1 of 4
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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Joshua Gottschalk, Special Agent, Homeland Security Investigations (“HSI”), being
duly sworn, depose and state as follows:
IL Purpose of the Affidavit

1. This affidavit is being submitted in support of a complaint charging Rudy Adonaldo
CHAVEZ with possession with intent to distribute 4 ounces or more of cocaine in violation of 21
U.S.C. § 841.

II. Your Affiant

2. I] am an “investigative or law enforcement officer” of the United States within the
meaning of 18 U.S.C. § 2510(7), that is, an officer of the United States empowered by law to
conduct investigations of and to make arrests for offenses enumerated in 18 U.S.C. § 2516.

3. I am a duly sworn member of HSI, an agency in the Department of Homeland
Security, formerly known as Immigration and Customs Enforcement (ICE). I am currently
assigned to the Baltimore Field Office as well as to the Organized Crime Drug Enforcement Task
Force (OCDETF) Strike Force in the District of Maryland. I have been employed as a Special
Agent with HSI since 2009. I completed the Federal Criminal Investigator Training Program and
the Immigration and Customs Enforcement Special Agent Training Program at the Federal Law
Enforcement Training Center in Glynco, Georgia. | received training in drug investigations and
money laundering investigations. I also received training in investigative methods to trace illegal
proceeds and prove financial crimes, asset forfeiture, and financial investigations.

4, I am responsible for conducting investigations involving specified unlawful
activities, to include drug smuggling and money laundering, among other violations, occurring in

the District of Maryland. I am also responsible for enforcing criminal and civil violations of the

 
Case 1:20-mj-00258-JMC Document 1-1 Filed 01/23/20 Page 2 of 4
Christopher Romano

20-02 5 8 JMC 1-22-2020

Money Laundering Control Act as found in Title 18, United States Code. I have actively
participated in investigations of criminal activity, including but not limited to, the investigation of
drug smugglers and money launderers. During these investigations, I have also participated in the
execution of search warrants and the seizure of evidence indicating violations of drug smuggling
and money-laundering. As an agent of HSI, I have testified under oath, affirmed to applications
of search and arrest warrants, and participated in and served as the affiant on Title III wire intercept
investigations. HSI, particularly under the auspices of OCDETF, is responsible for the
enforcement of federal narcotics laws. I have personally conducted and participated in
investigations, which have resulted in the arrest and conviction of numerous individuals
responsible for trafficking in narcotics.
III. Applicable Statute

5. Under that Title 21, United States Code, Section 841 it is unlawful to commit a
violation of 21 U.S.C. 841(a)(1). Under Title 21, United States Code, Section 841(a)(1) it is
unlawful to knowingly or intentionally manufacture, distribute, or dispense, or possess with intent
to manufacture, distribute, or dispense, a controlled substance.
IV. Facts Supporting Probable Cause

6. On January 17, 2020, the Maryland State Police (MSP), Proactive Criminal
Enforcement Team (PACE) (hereinafter MSP PACE) conducted a traffic stop on a gold in color
Honda Civic bearing Maryland license plate, 7CB3221. The vehicle was travelling at 72 mph in
a posted 65 mph zone. A search of the Maryland MVA records found license plate 7CB3221 to
be a gold Honda Civic, VIN42HGFA16578H344465), registered to Jorge Neftaly LOPEZ Chavez
(DOB: 07/23/1988), with an address of 6715 Bessemer Avenue, Baltimore, Maryland, 21222. The

traffic stop was conducted at mile marker 69.3 on Interstate 95 in Baltimore County, Maryland.
Case 1:20-mj-00258-JMC Document 1-1 Filed 01/23/20 Page 3 of 4

Christopher Romano
1-22-2020

20-025 8 JMC

7. MSP PACE identified the driver of the vehicle as Rudy Adonaldo CHAVEZ

(hereinafter CHAVEZ), DOB: 10/08/1990. A search of the National Crime Information Center

(NCIC) for CHAVEZ revealed Guatemalan citizenship with an arrest on 04/15/2019 by U.S.
Customs and Border Protection in Welton, Arizona for Alien Inadmissibility under section 212.

8. Pursuant to the traffic stop, a roadside interview of CHAVEZ and a culmination of
evidence and statements provided by CHAVEZ, MSP PACE requested a K-9 scan of the vehicle.
K-9 handler Cpl. Brian Hirsch and his K-9, Pascal, responded. Pascal, which was initially certified
to detect controlled substances in 2010 and has been certified yearly since then, alerted for the
presence of a controlled substance within the vehicle. As a result, MSP PACE conducted a search
of the gold Honda Civic where Cpl. Hirsch and other law enforcement identified a white Dunkin
Donuts bag containing seven (7) individually packed bags wrapped in clear plastic wrap,
containing a white powdery substance in the center console of the vehicle. While no field test was
conducted because of a concern that the substance may contain fentanyl], based on the appearance
of the substance, the manner it which it was packaged, and Cpl. Hirsch’s training, knowledge and
experience!, law enforcement believed the substance to contain cocaine. It has since been sent to
the crime lab to confirm the substance is in fact cocaine.

9. MSP PACE further identified a toll receipt from New Jersey’s George Washington
Bridge and a review of license plate readers by MSP PACE showed the gold Honda Civic had

been traveling Southbound on Interstate 95 from Delaware. CHAVEZ was subsequently placed

under arrest and transported to the JFK Memorial Barrack where CHAVEZ was advised of his

 

Cpl. Hirsch has been a K-9 officer since April, 2010. During his career, Cpl. Hirsch has seized
multiple quantities of suspected controlled substances, which upon analysis confirmed the
existence of cocaine.
Case 1:20-mj-00258-JMC Document 1-1 Filed 01/23/20 Page 4 of 4

20 -02 5 8 JMC Christopher Romano

1-22-2020

rights, processed and charged. CHAVEZ was later transported to the Baltimore County District

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( Spécial Agent Joshua M. Gottschalk
omeland Security Investigations

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Sworn to before me this nd day of WA
MM

J. Mark Coulson
United States Magistrate Judge

Court Commissioner for further processing.

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